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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

RICHARD REID,                                    §
     Plaintiff,                                  §
                                                 §
v.                                               §          CIVIL ACTION NO. 3:20-CV-2581-B
                                                 §
DRIFTWOOD HOSPITALITY                            §
MANAGEMENT II, LLC,                              §
     Defendant.                                  §

                       DEFENDANT’S SECOND SUPPLEMENT TO
                              NOTICE OF REMOVAL

 TO THE HONORABLE JUDGE OF SAID COURT:

          COMES NOW, Defendant DRIFTWOOD HOSPITALITY MANAGEMENT II, LLC

 (“Driftwood Hospitality”) and files this Second Supplement to its Notice of Removal (Doc. 1)

 and in response to the court’s Second Order to Show Cause (Doc. 7), and would show the court

 the following:



                              E. DIVERSITY OF CITIZENSHIP

11. The district courts of the United States have original jurisdiction over this action pursuant to

       28 U.S.C. § 1332:

         (a)   Plaintiff is a citizen of the State of Texas (Doc. 1-1, Exh. C-1, p. 1).

         (b)   Defendant Driftwood Hospitality is a limited liability company formed in the

               state of Delaware and has its principal place of business in Palm Beach County,

               Florida. Therefore, Driftwood Hospitality, is a citizen of the state of Florida.

         (c)   Defendant Driftwood Hospitality is comprised of the following four members:

               (i)    Driftwood Ventures, Inc. is incorporated in the state of Florida and has its

                      principal place of business in the state of Florida.

               (ii)   Carlos J. Rodriguez, Inc. is incorporated in the state of Florida and has its


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                   principal place of business in the state of Florida.

           (iii)   Steve Johnson is a citizen of the state of Arizona.

           (iv)    Driftwood Acquisition & Development, LP is a limited partnership

                   formed in the state of Delaware and has its principal place of business is in

                   the state of Florida [corrected] and is comprised of the following:

                   (A)    General Partner: Red Dune Capital, LLC, a Delaware limited

                          liability company with members David Buddemeyer and Carlos J.

                          Rodriguez, both of which are citizens of the state of Florida.

                   (B)    Limited Partner: Rafael Angel Calderon – Tennessee

                   (C)    Limited Partner: Karla Calderon – Tennessee

                   (D)    Limited Partner: Lynne Family Trust – New Jersey citizens

                   (E)    Limited Partner: Jane M. Alderson - Tennessee

                   (F)    Limited Partner: Stanly Wayne Demarcus, Jr. - Tennessee

                   (G)    Limited Partner: Patrick Chummisky - Tennessee

                   (H)    Limited Partner: Marco Calderon - Tennessee

                   (I)    Limited Partner: Hotel Inv. DAD LLC – members are Florida

                          citizens

                   (J)    Limited Partner: Andina Hotels LLC – members are Florida citizens

                   (K)    Limited Partner: Local Equity II Holding, LLC – members are

                          Florida citizens

                   (L)    Limited Partner: Funacion Alcla - Panama

                   (M)    Limited Partner: Claudia Mugrabi - Florida

                   (N)    Limited Partner: Milaine Mugrabi – New York

                   (O)    Limited Partner: Pinecrest Windsor - Florida

                   (P)    Limited Partner: Ivan Blinoff - Bermuda

                   (Q)    Limited Partner: Colette T. Smith Revocable Trust - Florida


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                       (R)     Limited Partner: Cathleen Fox - Florida

                       (S)     Limited Partner: Sean Pool - Florida

                       (T)     Limited Partner: Carlos J. Rodriguez Family, LLC – members

                               Carlos Rodriguez and Pamela Rodriguez are Florida citizens

                       (U)     Limited Partner: Ven One Investment of Florida - New York

                               citizens

                       (V)     Limited Partner: Terry S. Jove 2010 Irrevocable Trust - Florida

       (d)     Defendant Driftwood Hospitality has the following three managers:

               (i)     David Buddemeyer is a citizen of the state of Florida.

               (ii)    Carlos J. Rodriguez is a citizen of the state of Florida.

               (iii)   Charles M. Diaz is a citizen of the state of Florida.



Accordingly, there is complete diversity of citizenship between all parties plaintiff and all parties

defendant; and, as first identified in the Original Petition, the amount in controversy exceeds

$75,000.00, exclusive of interest and costs.


                                 F. DEFENDANT’S PRAYER

         WHEREFORE PREMISES CONSIDERED, Defendant Driftwood Hospitality, pursuant

 to these statutes and in conformance with the requirements set forth in 28 U.S.C. § 1446, removes

 this action for trial from the 162nd District Court of Dallas County, Texas to the U.S. District

 Court for the Northern District of Texas, Dallas Division.




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                                            Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing document has been served in
accordance with the FEDERAL RULES OF CIVIL PROCEDURE on this 16th day of September
2020 upon the following counsel of record:

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